
ORDER
In 2001, respondent pleaded guilty in the United States District Court for the Eastern District of Louisiana to one felony count of structuring financial transactions for the purpose of evading federal reporting requirements, a violation of 31 U.S.C. § 5324(a)(3), stemming from his participation in a runner-based solicitation scheme. In 2004, the Office of Disciplinary Counsel (“ODC”) filed three counts of formal charges against respondent arising out of his conviction and other professional misconduct. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent’s petition.
Having considered the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Russell A. Solomon, Louisiana Bar Roll number 2120, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Russell A. Solomon for permanent resignation in lieu of discipline be and' is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5(c) of the Rules of Professional Conduct, as amended March 24, 2004.
IT IS FURTHER ORDERED that Russell A. Solomon shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
IT IS FURTHER ORDERED that the proceedings in 06-B-0632 be dismissed as moot.
/s/ Jeannette T. Knoll
Justice, Supreme Court of Louisiana
